  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 1 of 25 PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PIRACY PROTECTION LLC                  )
                                       )
          Plaintiff,                   )
                                       ) C.A. No. _______________
v.                                     )
                                       ) JURY TRIAL DEMANDED
PANASONIC CORPORATION OF NORTH AMERICA )
NORTH AMERICA, SANYO CORPORATION OF    )
AMERICA and FUNAI CORPORATION, INC.    )
                                       )
          Defendants.                  )
                                       )

                                        COMPLAINT

       For its Complaint, Plaintiff Piracy Protection LLC ("Piracy Protection" or "Plaintiff"), by

and through the undersigned counsel, alleges as follows:

                                        THE PARTIES

       1.     Plaintiff is a Delaware limited liability company with a place of business located

at 3511 Silverside Road, Suite 105, Wilmington, Delaware 19810.

       2.     Defendant Panasonic Corporation of North America ("Panasonic") is a Delaware

company with, upon information and belief, a place of business located at Two Riverfront Plaza,

828 McCarter Highway, Newark, New Jersey 07102.

       3.     Defendant Sanyo Corporation of America ("Sanyo") is a Delaware company with,

upon information and belief, a place of business located at 500 Fifth Avenue, Suite 3620, New

York, NY 10110.

       4.     Upon information and belief, Panasonic and Sanyo are related entities.

       5.     Defendant Funai Corporation, Inc. ("Funai") is a Georgia company, with, upon

information and belief, a place of business located at 201 Route 17 North, Suite 903, Rutherford,

New Jersey 07070.
    Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 2 of 25 PageID #: 2



         6.          Upon information and belief, Panasonic, Sanyo and Funai (collectively,

 "Defendants") entered into an agreement whereby Funai pays a royalty to Panasonic and/or

 Sanyo for the Sanyo products accused of infringement herein.

                                      JURISDICTION AND VENUE

         7.          This action arises under the Patent Act, 35 U.S.C. § 1 et seq.

         8.          Subject matter jurisdiction is proper in this Court under 28 U.S.C.

 §§ 1331 and 1338.

         9.          Upon information and belief, Defendants conduct substantial business in this

 forum, directly or through intermediaries, including: (i) at least a portion of the infringements

 alleged herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses

 of conduct and/or deriving substantial revenue from goods and services provided to individuals

 in this district.

         10.         Venue is proper in this district pursuant to 28 U.S.C. § 1400(b).

                                          THE PATENT-IN-SUIT

         11.         On March 26, 2013, U.S. Patent No. 8,407,782 (the "'782 patent"), entitled "Data

 Copyright Management," was duly and lawfully issued by the U.S. Patent and Trademark Office.

 A true and correct copy of the '782 patent is attached hereto as Exhibit A.

       12.           The claims of the '782 patent ("patent-in-suit"), including the asserted claims,

when viewed as a whole, including as ordered combinations, are not merely the recitation of well-

understood, routine, or conventional technologies or components. The claimed inventions were not

well-known, routine, or conventional at the time of the invention, over twenty years ago, and

represent specific improvements over the prior art and prior existing systems and methods for

managing and protecting copyrighted data.




                                                      2
    Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 3 of 25 PageID #: 3



         13.    According to the U.S. Patent and Trademark Office Board of Patent Appeals and

 Interferences ("BPAI"), the '782 patent's claimed invention "is directed to a data copyright

 management system that decrypts encrypted data for a first form of usage, such as displaying and

 editing data at a user's terminal, while concurrently re-encrypting data for a second form of

 usage, such as storing, copying and transferring of the same data." Ex. B, attached hereto, at p. 2

 (citing '782 patent at Abstract, 24:5-25:2).

         14.    As explained in the '782 patent:

                 In a conventional database system, only character data is handled.
         However, in multimedia systems, sound data and picture data originally generated
         as analog data, are digitized and used as part of the database in addition to the
         other data in the database such as character data.
                 Under such circumstances, it is an important question to determine how to
         handle copyrights of the data in the database. However, there are no means in the
         prior art for copyright management and control of such actions as copying,
         editing, transferring, etc. of data

 Ex. A, '782 patent at 2:16-25.

       15.      The asserted claims of the patent-in-suit are directed to specific improvements in

data copyright management systems.         Among other things, the asserted claimed inventions

concurrently decrypt and re-encrypt encrypted data to perform copyright management and control.

         16.    Claim 1 of the '782 patent recites:

         1. A method performed by a first computing device, the method comprising:
                 receiving an encrypted version of a first set of protected digital data;
                 receiving a first crypt key specifically associated with the first set of
         protected digital data;
                 decrypting the encrypted version of the first set of protected digital data
         using the first crypt key to produce decrypted digital data;
                 managing forms of usage of the first set of protected digital data, wherein
         said managing includes, for a first form of usage requested by a user of the first
         computing device:
                          when the first form of usage is one of a first set of usages,
         permitting the first form of usage using the decrypted digital data; and
                          when the first form of usage is one of a second set of usages
         distinct from usages in the first set, permitting the first form of usage on a re-
         encrypted version of the decrypted digital data generated by re-encrypting the


                                                   3
  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 4 of 25 PageID #: 4



       decrypted digital data using a second crypt key.

Id. at 29:53-30:5.

       17.     The BPAI determined that prior are did not "disclose[] or even suggest[] that the

form of usage of a first set is permitted based on the decrypted digital data, while the form of

usage of another set is permitted based upon the re-encrypted version of the decrypted digital

data." Ex. B at 6.

       18.     As noted in the '782 patent and acknowledged by the BPAI, the claimed

technologies comprise innovative systems and processes that provide increased security over

those existing at the time and result in a better digital copyright management. The patent-in-suit

thus provides concrete applications that improved digital copyright management.

       19.     The inventor did more than simply apply current technology to an existing

problem. His invention, as embodied in the asserted claims, was a significant advancement in

digital copyright management.

       20.     These noted improvements over the prior art represent meaningful limitations

and/or inventive concepts based upon the state of the art over 25 years ago. Further, including in

view of these specific improvements, the inventions of the asserted claims, when such claims are

viewed as a whole and in ordered combination, are not routine, well-understood, conventional,

generic, existing, commonly used, well-known, previously known, typical, and the like over 25

years ago, including because, until the inventions of the asserted claims of the patent-in-suit, the

claimed inventions were not existing or even considered in the field.

       21.     The claimed inventions are necessarily rooted in computer technology, i.e., digital

copyright management. The claimed solutions amount to an inventive concept for resolving the

particular problems and inefficiencies noted above.

       22.     Plaintiff is the assignee and owner of the right, title and interest in and to the '782


                                                 4
  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 5 of 25 PageID #: 5



patent, including the right to assert all causes of action arising under said patent and the right to

any remedies for infringement of it.

      COUNT I – INFRINGEMENT OF U.S. PATENT NO. 8,407,782 – PANASONIC

          23.   Plaintiff repeats and realleges the allegations of paragraphs 1 through 28 as if

fully set forth herein.

          24.   Without license or authorization and in violation of 35 U.S.C. § 271(a), Panasonic

has infringed and continues to infringe at least claim 1 of the '782 patent by making, using,

importing, offering for sale, and/or selling methods, products and systems for data copyright

management, including, but not limited to, Smart Network 3D Blu-Ray Disc Player DMP-

BDT500 (the "Panasonic Accused Device"), because each and every element is met either

literally or equivalently.

          25.   Upon information and belief, Panasonic used the Panasonic Accused Device via

its internal use and testing in the United States, directly infringing one or more claims of the '782

patent.

          26.   More specifically and upon information and belief, the Panasonic Accused Device

includes a method performed by a first computing device.




https://aacsla.com/.




https://av.jpn.support.panasonic.com/support/global/cs/bd/faq/bdt500eg.html.




                                                 5
  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 6 of 25 PageID #: 6




https://av.jpn.support.panasonic.com/support/software/mt/faq/mt_1.html (translated into English

via Google Chrome).




https://shop.panasonic.com/support-only/DMP-BDT500.html.

       27.     The Panasonic Accused Device receives an receiving an encrypted version of a

first set of protected digital data, receives a first crypt key specifically associated with the first

set of protected digital data and decrypts the encrypted version of the first set of protected digital

data using the first crypt key to produce decrypted digital data.




Advanced Access Content System: Blu-ray Disc Pre-recorded Book at p. 1 (available at Source:

http://aacs.tjn.chef.causewaynow.com/wp-

content/uploads/2019/02/AACS_Spec_BD_Prerecorded_Final_0_953.pdf).




                                                  6
  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 7 of 25 PageID #: 7




Id. at p. 133.

        28.      The Panasonic Accused Device manages forms of usage of the first set of

protected digital data, wherein said managing includes, for a first form of usage requested by a

user of the first computing device.




                                               7
  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 8 of 25 PageID #: 8



Advanced Access Content System ("AACS") Adopter Agreement at p. E-17 (available at

http://aacs.tjn.chef.causewaynow.com/wp-

content/uploads/2019/02/AACS_Adopter_Agreement_20121115.pdf).




Id. at E-4 – E-5.

       29.     When the first form of usage is one of a first set of usages, the managing permits

the first form of usage using the decrypted digital data.




                                                  8
  Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 9 of 25 PageID #: 9




Id. at E-17 – E-18.

       30.     When the first form of usage is one of a second set of usages distinct from usages

in the first set, the managing permits the first form of usage on a re-encrypted version of the




                                               9
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 10 of 25 PageID #: 10



decrypted digital data generated by re-encrypting the decrypted digital data using a second crypt

key.




Id.at E-18 – E19.




Id. at E67.




                                               10
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 11 of 25 PageID #: 11




Id. at E-70 – E71.




https://support-uk.panasonic.eu/app/answers/detail/a_id/4284/~/what-is-hdcp%3F




                                             11
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 12 of 25 PageID #: 12




https://www.panasonic.com/uk/support/discontinued-products/home-entertainment/dmp-

bdt500eb.html.




https://shop.panasonic.com/support-only/DMP-BDT500.html.




                                           12
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 13 of 25 PageID #: 13




High-bandwidth Digital Content Protection System:    Interface Independent Adaptation at

(available      at       p.       53        (available      at       https://www.digital-

cp.com/sites/default/files/specifications/HDCP%20Interface%20Independent%20Adaptation%2

0Specification%20Rev2_2_FINAL.pdf).




                                          13
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 14 of 25 PageID #: 14




Advanced Access Content System (AACS): Blu-ray Disc Pre-recorded Book at p. 63 (available

at                                                     http://aacs.tjn.chef.causewaynow.com/wp-

content/uploads/2019/02/AACS_Spec_BD_Prerecorded_Final_0_953.pdf).

       31.     Plaintiff is entitled to recover from Panasonic the damages sustained by Plaintiff

as a result of Panasonic's infringement of the '782 patent in an amount subject to proof at trial,

which, by law, cannot be less than a reasonable royalty, together with interest and costs as fixed

by this Court under 35 U.S.C. § 284.




                                               14
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 15 of 25 PageID #: 15



    COUNT II – INFRINGEMENT OF U.S. PATENT NO. 8,407,782 – DEFENDANTS

        32.     Plaintiff repeats and realleges the allegations of paragraphs 1 through 35 as if

fully set forth herein.

        33.     Without license or authorization and in violation of 35 U.S.C. § 271(a),

Defendants have infringed and continue to infringe at least claim 1 of the '782 patent by making,

using, importing, offering for sale, and/or selling methods, products and systems for data

copyright management, including, but not limited to, FWBP808F 4K Ultra HD Blu-ray Player

(the "Defendants Accused Device"), because each and every element is met either literally or

equivalently.

        34.     Upon information and belief, Defendants used the Defendants Accused Device

via their internal use and testing in the United States, directly infringing one or more claims of

the '782 patent.

        35.     More specifically and upon information and belief, the Defendants Accused

Device includes a method performed by a first computing device.




https://aacsla.com/.




Owner's         Manual     ("Owner's      Manual")       at      p.     58      (available      at

https://dock.funaiport.com/download/download.php?id=6233&brand=SANYO).




                                               15
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 16 of 25 PageID #: 16



Owner's Manual at p. 33.




https://www.sanyo-av.com/us/product/product.php?id=585.

       36.     The Defendants Accused Device receives an receiving an encrypted version of a

first set of protected digital data, receives a first crypt key specifically associated with the first

set of protected digital data and decrypts the encrypted version of the first set of protected digital

data using the first crypt key to produce decrypted digital data.




Advanced Access Content System: Blu-ray Disc Pre-recorded Book at p. 1 (available at Source:

http://aacs.tjn.chef.causewaynow.com/wp-

content/uploads/2019/02/AACS_Spec_BD_Prerecorded_Final_0_953.pdf).




                                                 16
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 17 of 25 PageID #: 17




Id. at p. 133.

        37.      The Defendants Accused Device manages forms of usage of the first set of

protected digital data, wherein said managing includes, for a first form of usage requested by a

user of the first computing device.




                                              17
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 18 of 25 PageID #: 18



Advanced Access Content System ("AACS") Adopter Agreement at p. E-17 (available at

http://aacs.tjn.chef.causewaynow.com/wp-

content/uploads/2019/02/AACS_Adopter_Agreement_20121115.pdf).




Id. at E-4 – E-5.

       38.     When the first form of usage is one of a first set of usages, the managing permits

the first form of usage using the decrypted digital data.




                                                 18
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 19 of 25 PageID #: 19




Id. at E-17 – E-18.

       39.     When the first form of usage is one of a second set of usages distinct from usages

in the first set, the managing permits the first form of usage on a re-encrypted version of the




                                               19
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 20 of 25 PageID #: 20



decrypted digital data generated by re-encrypting the decrypted digital data using a second crypt

key.




Id.at E-18 – E19.




Id. at E67.




                                               20
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 21 of 25 PageID #: 21




Id. at E-70 – E71.




Owner's Manual at p. 46.




                                     21
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 22 of 25 PageID #: 22




.Id. at p. 26.




Id. at p. 58.




Id. at p. 15.




Id. at p. 8.




                                     22
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 23 of 25 PageID #: 23




Id. at p. 59.




High-bandwidth Digital Content Protection System:   Interface Independent Adaptation at

(available      at      p.       53        (available      at       https://www.digital-




                                         23
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 24 of 25 PageID #: 24



cp.com/sites/default/files/specifications/HDCP%20Interface%20Independent%20Adaptation%2

0Specification%20Rev2_2_FINAL.pdf).




Advanced Access Content System (AACS): Blu-ray Disc Pre-recorded Book at p. 63 (available

at                                                     http://aacs.tjn.chef.causewaynow.com/wp-

content/uploads/2019/02/AACS_Spec_BD_Prerecorded_Final_0_953.pdf).

       40.     Plaintiff is entitled to recover from Defendants the damages sustained by Plaintiff

as a result of Defendants' infringement of the '782 patent in an amount subject to proof at trial,

which, by law, cannot be less than a reasonable royalty, together with interest and costs as fixed

by this Court under 35 U.S.C. § 284.



                                               24
 Case 1:19-cv-02046-UNA Document 1 Filed 10/29/19 Page 25 of 25 PageID #: 25




                                          JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that this Court enter judgment against Defendants as

follows:

        A.      An adjudication that Defendants have infringed the '782 patent;

        B.      An award of damages to be paid by Defendants adequate to compensate Plaintiff

for Defendants' past infringement of the '782 patent and any continuing or future infringement

through the date such judgment is entered, including interest, costs, expenses and an accounting

of all infringing acts including, but not limited to, those acts not presented at trial;

        C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

Plaintiff's reasonable attorneys' fees; and

        D.      An award to Plaintiff of such further relief at law or in equity as the Court deems

just and proper.


Dated: October 29, 2019                 STAMOULIS & WEINBLATT LLC

                                        /s/ Richard C. Weinblatt
                                        Stamatios Stamoulis (#4606)
                                        Richard C. Weinblatt (#5080)
                                        800 N. West Street, Third Street
                                        Wilmington, DE 19801
                                        Telephone: (302) 999-1540
                                        Facsimile: (302) 762-1688
                                        stamoulis@swdelaw.com
                                        weinblatt@swdelaw.com

                                        Attorneys for Plaintiff
                                        Piracy Protection LLC




                                                   25
